                           UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF TENNESSEE
                            NASHVILLE TENNESSEE DIVISION

In re:                                                      Case No. 18-05071-RM3-13
         KEVIN WALTER LEONARD
         BRANDY MICHELLE LEONARD
                 Debtor(s)


                      Chapter 13 Trustee's Final Report and Account
       Henry E. Hildebrand, III, chapter 13 trustee, submits the following Final Report and
Account of the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee
declares as follows:


         1) The case was filed on 07/30/2018.

         2) The plan was confirmed on 10/23/2018.

       3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
07/25/2019.

       4) The trustee filed action to remedy default by the debtor in performance under the plan
on 08/01/2019.

         5) The case was dismissed on 08/26/2019.

         6) Number of months from filing to last payment: 12.

         7) Number of months case was pending: 14.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $8,700.00.

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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Receipts:

        Total paid by or on behalf of the debtor             $17,368.23
        Less amount refunded to debtor                            $0.00

NET RECEIPTS:                                                                                   $17,368.23


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                                $2,806.33
    Court Costs                                                            $310.00
    Trustee Expenses & Compensation                                        $607.87
    Other                                                                    $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                 $3,724.20

Attorney fees paid and disclosed by debtor:                    $0.00


Scheduled Creditors:
Creditor                                      Claim         Claim            Claim        Principal        Int.
Name                               Class    Scheduled      Asserted         Allowed         Paid           Paid
1305 CLAIM                     Unsecured             NA            NA              NA             0.00         0.00
ADVANCE FINANCIAL              Unsecured       1,553.43            NA              NA             0.00         0.00
AMERICAN CREDIT ACCEPTANCE     Secured        21,000.00     21,856.99        21,856.99       2,859.45       895.75
AMERICAN HONDA FINANCE CORPO Secured           6,128.50       6,343.13        6,343.13         830.42       343.57
AMERICAN INFOSOURCE AS AGENT Unsecured         1,700.00       1,734.52        1,734.52            0.00         0.00
AMERICAN INFOSOURCE LP         Unsecured       2,175.00       2,133.78        2,133.78            0.00         0.00
ATLAS ACQUISITIONS LLC         Unsecured             NA            NA              NA             0.00         0.00
BANK OF AMERICA NA             Unsecured       5,579.38       5,579.38        5,579.38            0.00         0.00
BECKET AND LEE LLP             Unsecured       1,409.00       1,833.03        1,833.03            0.00         0.00
BECKET AND LEE LLP             Unsecured          877.07        792.76          792.76            0.00         0.00
BELK GECRB                     Unsecured          942.00           NA              NA             0.00         0.00
CAPITAL ONE                    Unsecured          865.00           NA              NA             0.00         0.00
CAPITAL ONE                    Unsecured       1,482.00            NA              NA             0.00         0.00
CARRINGTON MORTGAGE SERVICES Secured          85,396.00     85,053.43             0.00       6,379.84          0.00
CARRINGTON MORTGAGE SERVICES Secured           1,610.00       1,619.96        1,619.96            0.00         0.00
CARRINGTON MORTGAGE SERVICES Secured           2,429.58           0.00        2,392.44            0.00         0.00
CARRINGTON MORTGAGE SERVICES Secured                 NA         650.00          650.00            0.00         0.00
CASH EXPRESS                   Unsecured          596.76           NA              NA             0.00         0.00
CASH EXPRESS                   Unsecured          263.25           NA              NA             0.00         0.00
CERASTES LLC                   Unsecured          248.00        248.00          248.00            0.00         0.00
ELECTRONIC EXPRESS SYNCHRONY Unsecured         2,337.91            NA              NA             0.00         0.00
FORD MOTOR CREDIT COMPANY LLC Secured         12,763.23     12,389.05        12,389.05       1,664.86       670.14
HARPETH FINANCIAL SERVICES     Unsecured       4,691.76       4,135.12        4,135.12            0.00         0.00
HARPETH FINANCIAL SERVICES LLC Unsecured             NA       4,920.36        4,920.36            0.00         0.00
NPRTO SOUTH EAST LLC           Unsecured             NA       1,627.78        1,627.78            0.00         0.00
PORTFOLIO RECOVERY ASSOCIATES Unsecured           558.00        609.21          609.21            0.00         0.00
STATE FARM MUTUAL AUTO INS CO Unsecured        9,130.04       9,025.11        9,025.11            0.00         0.00
SUMNER COUNTY GENERAL SESSION Unsecured              NA            NA              NA             0.00         0.00
SUMNER RADIOLOGY               Unsecured          143.00           NA              NA             0.00         0.00
VIP MIDSOUTH LLC               Unsecured             NA            NA              NA             0.00         0.00
WALMART SYNCHRONY BANK         Unsecured       2,328.66            NA              NA             0.00         0.00



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Scheduled Creditors:
Creditor                                   Claim         Claim         Claim        Principal        Int.
Name                           Class     Scheduled      Asserted      Allowed         Paid           Paid
WALMART SYNCHRONY BANK      Unsecured          621.00           NA           NA             0.00         0.00
WAMU CHASE                  Unsecured       1,963.00            NA           NA             0.00         0.00
WORLD FINANCE CO            Unsecured       1,070.00         906.36       906.36            0.00         0.00
WORLD FINANCE CO            Unsecured             NA         832.09       832.09            0.00         0.00


Summary of Disbursements to Creditors:
                                                          Claim           Principal                Interest
                                                        Allowed               Paid                    Paid
Secured Payments:
      Mortgage Ongoing                                   $0.00          $6,379.84                  $0.00
      Mortgage Arrearage                             $4,662.40              $0.00                  $0.00
      Debt Secured by Vehicle                       $34,246.04          $4,524.31              $1,565.89
      All Other Secured                              $6,343.13            $830.42                $343.57
TOTAL SECURED:                                      $45,251.57         $11,734.57              $1,909.46

Priority Unsecured Payments:
       Domestic Support Arrearage                         $0.00                 $0.00                $0.00
       Domestic Support Ongoing                           $0.00                 $0.00                $0.00
       All Other Priority                                 $0.00                 $0.00                $0.00
TOTAL PRIORITY:                                           $0.00                 $0.00                $0.00

GENERAL UNSECURED PAYMENTS:                         $34,377.50                  $0.00                $0.00


Disbursements:

       Expenses of Administration                         $3,724.20
       Disbursements to Creditors                        $13,644.03

TOTAL DISBURSEMENTS :                                                                     $17,368.23




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        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 10/04/2019                             By:/s/ Henry E. Hildebrand, III
                                                                     Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case , therefore, Paperwork Reduction Act
exemption 5 C.F.R. § 1320.4(a)(2) applies.




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